08-13555-mg   Doc 27625-1   Filed 04/27/12 Entered 04/27/12 11:55:43   Exhibits
                                   Pg 1 of 3




                            EXHIBIT 1
                               08-13555-mg         Doc 27625-1        Filed 04/27/12 Entered 04/27/12 11:55:43             Exhibits
                                                                             Pg 2 of 3
                                 IN RE LEHMAN BROTHERS HOLDINGS INC., ET AL., CASE NO: 08-13555 (JMP)

                                    OMNIBUS OBJECTION 232: EXHIBIT 1 – VALUED DERIVATIVES CLAIMS

                                                                             ASSERTED                                                 MODIFIED
                                           FILED
           NAME              CLAIM #       DATE       DEBTOR                       CLASS      AMOUNT           DEBTOR                         CLASS     AMOUNT
1   TACONIC                   16059      09/18/2009   Lehman Brothers Special    Unsecured   $12,393,189.00*   Lehman Brothers Special      Unsecured    $9,247,898.00
    OPPORTUNITY FUND                                  Financing Inc.                                           Financing Inc.
    L.P.
    TRANSFEROR:
    MERRILL LYNCH
    CREDIT PRODUCTS,
    LLC
    C/O TACONIC
    CAPITAL ADVISORS
    L.P.
    ATTN: TIM ANDRIKS
    450 PARK AVENUE
    NEW YORK, NY 10022

    TRANSFERRED TO:            16059     09/18/2009   Lehman Brothers Special    Unsecured    $2,187,034,00*   Lehman Brothers Special      Unsecured    $1,631,982.00
    TACONIC CAPITAL                                   Financing Inc.                                           Financing Inc.
    PARTNERS 1.5 L.P.
    TRANSFEROR:
    MERRILL LYNCH
    CREDIT PRODUCTS,
    LLC
    C/O TACONIC
    CAPITAL ADVISORS,
    L.P.
    ATTN: TIM ANDRIKS
    450 PARK AVENUE
    NEW YORK, NY 10022




             * - Indicates claim contains unliquidated and/or undetermined amounts                                            Page 1 of 2
                               08-13555-mg         Doc 27625-1        Filed 04/27/12 Entered 04/27/12 11:55:43            Exhibits
                                                                             Pg 3 of 3
                                 IN RE LEHMAN BROTHERS HOLDINGS INC., ET AL., CASE NO: 08-13555 (JMP)

                                    OMNIBUS OBJECTION 232: EXHIBIT 1 – VALUED DERIVATIVES CLAIMS

                                                                             ASSERTED                                                MODIFIED
                                           FILED
           NAME              CLAIM #       DATE       DEBTOR                       CLASS      AMOUNT           DEBTOR                        CLASS     AMOUNT
2   TACONIC                   16060      09/18/2009   Lehman Brothers            Unsecured   $12,677,173.00*   Lehman Brothers             Unsecured    $9,535,971.50
    OPPORTUNITY FUND                                  Holdings Inc.                                            Holdings Inc.
    L.P.
    TRANSFEROR:
    MERRILL LYNCH
    CREDIT PRODUCTS,
    LLC
    C/O TACONIC
    CAPITAL ADVISORS
    L.P.
    ATTN: TIM ANDRIKS
    450 PARK AVENUE
    NEW YORK, NY 10022

    TRANSFERRED TO:            16060     09/18/2009   Lehman Brothers            Unsecured    $2,237,149,00*   Lehman Brothers             Unsecured    $1,682,818.50
    TACONIC CAPITAL                                   Holdings Inc.                                            Holdings Inc.
    PARTNERS 1.5 LP
    TRANSFEROR:
    MERRILL LYNCH
    CREDIT PRODUCTS,
    LLC
    C/O TACONIC
    CAPITAL ADVISORS
    LP
    ATTN: TIM ANDRIKS
    450 PARK AVENUE
    NEW YORK, NY 10022
                                                                                 TOTAL       $29,494,545.00                                TOTAL       $22,098,670.00




             * - Indicates claim contains unliquidated and/or undetermined amounts                                           Page 2 of 2
